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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  TRAM NGUYEN and ROBERT WALTERS,
  individually and on behalf of all others
  similarly situated,                                         Case No.

         Plaintiffs,                                          CLASS ACTION

  v.                                                          JURY TRIAL DEMANDED

  COURSE HERO, INC.,

        Defendant.
  ____________________________________/
                                 CLASS ACTION COMPLAINT

         Plaintiffs Tram Nguyen and Robert Walters bring this class action against Defendant

  Course Hero, Inc., and allege as follows upon personal knowledge as to Plaintiffs and Plaintiffs’

  own acts and experiences, and, as to all other matters, upon information and belief, including

  investigation on conducted by Plaintiffs’ attorneys.

                                   NATURE OF THE ACTION

         1.      This is a class action under the Video Privacy Protection Act, 18 U.S.C. § 2710

  (“VPPA”), arising from Defendant’s practice of knowingly disclosing to Meta Platforms, Inc.

  (“Facebook”), information which identifies Plaintiffs and the putative Class Members as having

  requested or obtained specific video materials or services from Defendant.

         2.      The VPPA was enacted “‘to preserve personal privacy with respect to the rental,

  purchase, or delivery of video tapes or similar audio visual materials….’” Perry v. CNN, Inc., 854

  F.3d 1336 (11th Cir. 2017) (quoting Ellis v. Cartoon Network, Inc., 803 F.3d 1251 (11th Cir. 2015)

  (quoting 134 Cong. Rec. S5396-08, S. 2361 (May 10, 1988)).




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         3.      As alleged below, Defendant embedded within its website a “Meta Pixel” that was

  provided to Defendant by Facebook. That pixel tracked Plaintiffs’ and the Class Members’ video

  viewing history while on Defendant’s website and reported the viewing history to Facebook along

  with Plaintiffs’ and the Class Members’ unique Facebook Identification numbers.

         4.      Defendant knowingly violated the VPPA by embedding the Meta Pixel within its

  website and by sharing Plaintiffs’ and the Class Members’ video viewing history.

         5.      Defendant shared Plaintiffs’ and the Class Members’ video viewing history without

  providing any notification to Plaintiffs and the Class Members, and without Plaintiffs’ and the

  Class Members’ informed, written consent.

         6.      Defendant’s unlawful conduct caused Plaintiffs and the Class members concrete

  harm and injuries, including violations of their substantive legal privacy rights under the VPPA

  and invasion of their privacy. See Perry, 854 F.3d at 1340 (“We conclude that violation of the

  VPPA constitutes a concrete harm.”) (citing In re Nickelodeon, 827 F.3d 262, 274 (3d Cir.

  2016) (“While perhaps ‘intangible,’ the harm is also concrete in the sense that it involves a clear de

  facto injury, i.e., the unlawful disclosure of legally protected information.”)); see also Drazen v.

  Pinto, 74 F.4th 1336, 1345 (11th Cir. 2023) (“But the Constitution empowers Congress to decide

  what degree of harm is enough so long as that harm is similar in kind to a traditional harm.”)

         7.      Through this action, Plaintiffs seek actual damages but not less than liquidated

  damages in an amount of $2,500 for each and every violation of the VPPA committed by

  Defendant, punitive damages, reasonable attorneys’ fees and other litigation costs reasonably

  incurred, and any other available preliminary or equitable relief deemed appropriate by this Court.




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                                              PARTIES

         8.       Plaintiff Tram Nguyen is, and at all times relevant hereto was, a citizen and

  permanent resident of Pinellas County, Florida.

         9.       Plaintiff Robert Walters is, and at all times relevant hereto was, a citizen and

  permanent resident of Broward County, Florida.

         10.      Plaintiffs are “consumer[s]” as defined by the VPPA in that Plaintiffs are

  subscribers of goods or services provided by Defendant. See 18 U.S.C. § 2710(a)(1). Plaintiffs

  have been Facebook subscribers during the relevant time period. Additionally, Plaintiffs have used

  their digital subscriptions to view video content on Defendant’s website while logged into their

  Facebook accounts.

         11.      Defendant is, and at all times relevant hereto was, a foreign corporation, with its

  principal place of business located in Redwood City, CA. Defendant may served through its

  registered agent, Cogency Global, Inc., located at 115 North Calhoun Street, Suite 4, Tallahassee,

  FL 32301.

         12.      Defendant is a “video tape service provider” because it is engaged in the business

  of delivering audio visual materials through its website and/or mobile application. See 18 U.S.C.

  § 2710(a)(4).

                                   JURISDICTION AND VENUE

         13.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 over the claims

  that arise under the Video Privacy Protection Act, 18 U.S.C. § 2710.

         14.      This Court also has jurisdiction under 28 U.S.C. § 1332(d) because this action is a

  class action in which the aggregate amount in controversy for the proposed Class (defined below)




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  exceeds $5,000,000, and at least one member of the Class is a citizen of a state different from that

  of Defendant.

         15.      This Court has personal jurisdiction over Defendant because Defendant directs,

  markets, and provides its business activities throughout the State of Florida, and makes its active

  commercial website available to residents of Florida for those interested in entering into contracts

  over the Internet with Defendant. Indeed, Defendant’s website allows residents of Florida to enter

  into transactions utilizing the website. During the relevant time frame, Defendant entered into

  contracts with residents of Florida that involved the knowing and repeated transmission of

  computer data over the Internet. This resulted in Defendant accepting benefits from Florida

  residents through the site. Plaintiffs’ and the Class members’ claims arise directly from

  Defendant’s operation of its website.

         16.      Further, this Court has personal jurisdiction over Defendant because Defendant’s

  tortious conduct against Plaintiffs occurred in substantial part within this District and because

  Defendant committed the same wrongful acts to other individuals within this judicial District, such

  that some of Defendant’s acts have occurred within this District, subjecting Defendant to

  jurisdiction here. Thus, Defendant knew or should have known that it was causing harm to those

  individuals while they were in Florida such that it was foreseeable to Defendant that its conduct

  would harm Plaintiffs and other similarly-situated individuals located in Florida.

         17.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

  Defendant is deemed to reside in any judicial district in which it is subject to personal jurisdiction,

  and because a substantial part of the events or omissions giving rise to the claim occurred in this

  District, and because Plaintiffs were injured in this District.




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                                                FACTS

         18.     Defendant operates a website (www.coursehero.com) that offers both prerecorded

  videos to individuals who subscribe to Defendant’s services. Defendant’s delivery of audio-visual

  materials on its website is not ancillary to its business. In other words, Defendant’s business model

  is centered, tailored, and/or focused around providing audio-visual content. Accordingly,

  Defendant is a “video tape service provider” because it is engaged in the business of delivering

  audio visual materials.

         19.     Plaintiffs are “consumer[s]” as defined by the VPPA in that Plaintiffs are

  subscribers of goods or services from Defendant. Specifically, Plaintiffs became digitial

  subscribers by registering for an account with Defendant and providing personal identifying

  information at the time of registration.

         20.     At the time of registration, on information and belief, Plaintiffs provided and

  Defendant captured Plaintiffs’ IP address, which is a unique number assigned to all information

  technology connected devices, that informed Defendant as to Plaintiffs’ city, zip code, and

  physical location.

         21.     Plaintiffs’ registration reflected a commitment by Plaintiffs and granted Plaintiffs

  access to restricted prerecorded video content offered by Defendant.

         22.     Upon becoming subscribers, Defendant grants access to a variety of prerecorded

  video and similar audio visual content.

         23.     At all times relevant hereto, Plaintiffs had Facebook accounts. During the relevant

  time period, Plaintiffs used their digital subscription to view prerecorded video content on

  Defendant’s website while logged into their Facebook accounts.




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         24.        Prior to the filing of this action, Plaintiffs requested and/or viewed prerecorded

  video materials and/or services from Defendant through Defendant’s website.

         25.        Prior to the filing of this action, Defendant embedded and deployed a “Meta Pixel”

  on its website.

         26.        A Meta Pixel is a snippet of JavaScript code that loads a small library of functions

  that a website/application operator like Defendant can use to track visitor activity on its website

  and mobile application, including each website page visited, buttons clicked on the website,

  information inputted into a website, and content viewed on the site.

         27.        The Meta Pixel relies on Facebook cookies, and enables Facebook to match a

  website visitor (i.e., Plaintiffs and the Class Members) to their respective Facebook User account

  via their Facebook ID (“FID”). In other words, a FID is a unique identifier that is enough, on its

  own, to identify a person, and an ordinary person with access to a user’s FID can locate, access,

  and view a user’s corresponding Facebook profile by simply appending the FID to

  www.facebook.com (i.e., www.facebook.com/[FID]).

         28.        More importantly, Facebook, using a FID, is able to identify any user on its

  platform, which in turn allows Facebook to discern personal and identifying information about the

  user because Facebook requires personal identifying information to open a Facebook account

  including, but not limited to, name, e-mail address, mobile phone number, date of birth, and

  gender; information that Plaintiffs provided to Facebook.

         29.        Facebook refers to the information it receives from outside website operators

  through the Metal Pixel as “Off-Facebook activity”. Notably, the Meta Pixel constantly transmits

  a consumer’s website activities to Facebook even if the Facebook application is running in the

  background of the consumer’s computer.



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         30.     When it installed the Metal Pixel, Defendant chose certain options from a menu of

  available “events” that track specific user activity for automatic disclosure to Facebook, including

  the visitor’s FID.

         31.     Defendant chose for its website to disclose to Facebook unencrypted FIDs that

  allow Facebook to identify any user on its platform along with specific video titles and the videos’

  URLs identifying specific prerecorded videos Plaintiffs and the Class Members requested or

  obtained while visiting Defendant’s website.

         32.     Specifically, Defendant disclosed to Facebook the following information related to

  Plaintiffs and the Class Members: whether a video was requested and/or viewed on Defendant’s

  website; the specific video name that was requested and/or viewed; the fact that a specific video

  was requested and/or viewed; the URL associated with the video, and the digital subscriber’s FID

  to Facebook, all in a single data transmission (collectively, “Personally Identifiable Information”).

         33.     The Meta Pixel is not necessary to Defendant’s operation of its website, and

  Defendant did not need to configure the Meta Pixel to transmit Personally Identifiable Information

  to Facebook.

         34.     Even if the Meta Pixel were somehow necessary, Defendant did not need to

  transmit Personally Identifiable Information to Facebook to operate its website or business.

         35.     Plaintiffs and the Class members did not have a reasonable opportunity to discover

  Defendant’s unlawful conduct and violations of the VPPA because Defendant did not disclose to

  Plaintiffs and the Class Members that it was sharing their Personally Identifiable Information with

  Facebook, nor did Defendant seek written consent from Plaintiffs and the Class members prior to

  interception of their communications.




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         36.     Defendant did not inform Plaintiffs and the Class Members that their Personally

  Identifiable Information would be shared with Facebook.

         37.     Defendant did not obtain Plaintiffs’ and the Class Members’ informed, written

  consent to share their Personally Identifiable Information with Facebook.

         38.     Defendant failed to obtain Plaintiffs’ and the Class Members’ written consent to

  share their Personally Identifiable Information in a form distinct and separate from any form

  setting forth other legal or financial obligations of Plaintiffs and the Class Members, as the VPPA

  requires.

         39.     Defendant failed to provide Plaintiffs and the Class Members with the opportunity,

  in a clear and conspicuous manner, to prohibit the disclosure of their Personally Identifiable

  Information.

                                       CLASS ALLEGATIONS

         PROPOSED CLASS

         40.     Plaintiffs bring this lawsuit as a class action on behalf of all other similarly situated

  persons pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rule of Civil Procedure. The

  “Class” that Plaintiffs seek to represent is defined as:

                 All persons in the United States: (1) who were registered users
                 and/or subscribers of any website, mobile application, and/or
                 video-on-demand service or application owned, controlled,
                 and/or operated by Defendant; (2) who viewed any prerecorded
                 video or similar audio visual materials on said website, mobile
                 application, and/or video-on-demand service or application;
                 and (3) whose Personally Identifiable Information was disclosed
                 by Defendant to Facebook via the Meta Pixel.


         41.     Defendant and its employees or agents are excluded from the Class.




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          42.     Plaintiffs reserve the right to modify or amend the Class definitions, as appropriate,

  during the course of this litigation.

          43.     The applicable statute of limitation is tolled by virtue of Defendant’s knowing and

  active concealment of the facts alleged above. Plaintiffs and Class Members did not have a

  reasonable opportunity to discover the information essential to the pursuit of these claims, without

  any fault or lack of diligence on their own part.

          NUMEROSITY

          44.     The Class members are so numerous that individual joinder of all Class members

  is impracticable. Plaintiffs are informed and believe that there are tens of thousands of subscribers

  that fall within the Class and who widely dispersed throughout the United States.

          45.     Identification of the Class members is a matter capable of ministerial determination

  from Defendant’s and/or Facebook’s records kept in connection with its unlawful interceptions.

          COMMON QUESTIONS OF LAW AND FACT

          46.     There are numerous questions of law and fact common to the Class which

  predominate over any questions affecting only individual members of the Class. Among the

  questions of law and fact common to the Class are:

                      (1) Whether Defendant knowingly disclosed Plaintiffs’ and the Class

                          Members’ Personally Identifiable Information to Facebook;

                      (2) Whether Defendant secured consent from Plaintiffs and the Class Members

                          to disclose their Personally Identifiable Information to Facebook;

                      (3) Whether Plaintiffs and the Class Members are entitled to damages; and

                      (4) The amount of actual or liquidated damages to which Plaintiffs and the

                          Class Members are entitled.


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         47.     The common questions in this case are capable of having common answers. If

  Plaintiffs’ claim that Defendants routinely shares Personally Identifiable Information without

  securing written consent is accurate, Plaintiffs and the Class members will have identical claims

  capable of being efficiently adjudicated and administered in this case.

         TYPICALITY

         48.     Plaintiffs’ claims are typical of the claims of the Class members, as they are all

  based on the same factual and legal theories.

         PROTECTING THE INTERESTS OF THE CLASS MEMBERS

         49.     Plaintiffs are representatives who will fully and adequately assert and protect the

  interests of the Class and have retained competent counsel. Accordingly, Plaintiffs are adequate

  representatives and will fairly and adequately protect the interests of the Class.

         SUPERIORITY

         50.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit because individual litigation of the claims of all members of the Class

  is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

  by the Class are potentially in the millions of dollars, the individual damages incurred by each

  member of the Class resulting from Defendant’s wrongful conduct are too small to warrant the

  expense of individual lawsuits. The likelihood of individual Class members prosecuting their own

  separate claims is remote, and, even if every member of the Class could afford individual litigation,

  the court system would be unduly burdened by individual litigation of such cases.

         51.     The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

  example, one court might enjoin Defendant from performing the challenged acts, whereas another



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  may not. Additionally, individual actions may be dispositive of the interests of the Class, although

  certain class members are not parties to such actions.

            REQUIREMENTS OF FED. R. CIV. P. 23(b)(2)

            52.   Defendant has acted and refused to act on grounds generally applicable to the Class

  by engaging in a common course of conduct of uniformly sharing Personally Identifiable

  Information without consent, thereby making appropriate final injunctive relief or declaratory

  relief with respect to the class as a whole.

                                               COUNT I
                               Violation of the VPPA, 18 U.S.C. § 2710
                                (On Behalf of Plaintiffs and the Class)
            53.   Plaintiffs re-allege and incorporate the foregoing allegations as if fully set forth

  herein.

            54.   Under the VPPA, a “video tape service provider” is prohibited from knowingly

  disclosing “personally identifiable information” concerning any consumer to any third-party

  without the “informed, written consent…of the consumer[.]” 18 U.S.C. § 2710(b).

            55.   “[P]ersonally identifiable information” is defined to include “information which

  identifies a person as having requested or obtained specific video materials or services from a

  video tape service provider.” 18 U.S.C. § 2710(a)(3)

            56.   Plaintiffs and the Class Members are “consumers” as defined by the VPPA in that

  they are subscribers of goods or services offered by Defendant. See 18 U.S.C. § 2710(a)(1).

            57.   Defendant is a “video tape service provider” because it is engaged in the business

  of delivering audio visual materials through its website and/or mobile application. See 18 U.S.C.

  § 2710(a)(4).




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         58.      In violation of the VPPA, Defendant knowingly embedded the Meta Pixel on its

  website and disclosed Plaintiffs’ and the Class Members’ Personally Identifiable Information to

  Facebook.

         59.      Specifically, Defendant disclosed to Facebook the following Personally

  Identifiable Information: whether a prerecorded video was requested and/or viewed on

  Defendant’s website; the specific prerecorded video name that was requested and/or viewed; the

  fact that a specific prerecorded video was requested and/or viewed; the URL associated with the

  video, and the digital subscriber’s FID to Facebook in a single transmission, all in a single

  transmission.

         60.      Defendant knew that it was disclosing to Facebook data and information that

  identified Plaintiffs and the Class Members as having requested or obtained specific prerecorded

  video materials from Defendant.

         61.      As set forth in 18 U.S.C. § 27109(b)(2)(B), “informed, written consent” must be

  (1) in a form distinct and separate from any form setting forth other legal or financial obligations

  of the consumer; and (2) at the election of the consumer, is either given at the time the disclosure

  is sought or given in advance for a set period of time not to exceed two years or until consent is

  withdrawn by the consumer, whichever is sooner.

         62.      Defendant failed to obtain Plaintiffs’ and the Class Members informed, written

  consent to disclose their Personally Identifiable Information to Facebook.

         63.      Additionally, the VPPA creates an opt-out right for consumers. It requires entities

  like Defendant to “provide[] an opportunity for the consumer to withdraw on a case-by-case basis

  or to withdraw from ongoing disclosures, at the consumer’s election.” 18 U.S.C. § 2710(2)(B)(iii).




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            64.   Defendant failed to provide Plaintiffs and the Class Members an opportunity, in a

  clear and conspicuous manner, to prohibit the disclosure of their Personally Identifiable

  Information.

            65.   By disclosing Plaintiffs’ and the Class Members’ Personally Identifiable

  Information, Defendant violated Plaintiffs’ and the Class Members’ statutorily protected privacy

  rights.

            66.   As a result of the above violations, Defendant is liable to the Plaintiffs and the Class

  Members for actual damages related to their loss of privacy in an amount to be determined at trial

  or alternatively for liquidated damages not less than $2,500 per Class Member. Defendant is also

  liable for reasonable attorney’s fees, and other litigation costs, injunctive and declaratory relief,

  and punitive damages in an amount to be determined by a jury, but sufficient to prevent the same

  or similar conduct by the Defendant in the future.

                                       PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs, on behalf of themselves and the Class Members, pray for the

  following relief:

            a.    An order certifying the Class and appointing Plaintiffs as Class Representatives and

  their counsel as Class Counsel;

            b.    A declaration that Defendant’s practices described herein violate the VPPA;

            c.    An award of actual damages or, to the extent actual damages are lower than $2,500,

  liquidated damages in an amount of $2,500 per violation to Plaintiffs and each Class Member;

            d.    An award of punitive statutory damages to be determined at trial;

            e.    An award of reasonable attorney’s fees and costs; and

            f.    Such further and other relief the Court deems reasonable and just.


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                                          JURY DEMAND

          Plaintiffs and Class Members hereby demand a trial by jury.

                            EVIDENCE PRESERVATIOND DEMAND

         Plaintiffs demand that Defendant take affirmative steps to preserve all records, lists,

  electronic databases or other itemizations associated with the allegations herein, including all

  records, lists, electronic databases or other itemizations in the possession of any vendors,

  individuals, and/or companies contracted, hired, or directed by Defendant to assist it in disclosing

  Plaintiffs’ and the Class Members’ Personally Identifiable Information to Facebook.

  Dated: October 18, 2023

                                                       Respectfully submitted,
                                                By:
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